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  ATTORNEYS FOR DEFENDANT
  PNEUMO ABEX LLC


                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH


  SALLY SYLVESTER, Individually and as                 PNEUMO ABEX LLC’S MOTION TO
  Personal Representative of the Estate of Jesse       EXCLUDE PLAINTIFFS’ EXPERTS’
  Labrum, et al.,                                      UNRELIABLE CAUSATION OPINIONS

                     Plaintiffs,                       Case No. 2:18-cv-00470-HCN-CMR
  vs.
                                                       District Judge Howard C. Nielson
  BLUE BIRD CORPORATION, et al.,
                                                       Magistrate Judge Cecilia M Romero
             Defendants.


         Pneumo Abex LLC (“Abex”) hereby moves the Court to exclude Plaintiffs’ experts’

  causation opinions, which claim that alleged exposure to asbestos from automotive friction

  products was a substantial factor in causing Mr. Labrum’s mesothelioma.

         Pursuant to DUCivR 7-1(a)(4), Abex’s incorporates by reference the arguments, reasons,

  and facts contained in Ford Motor Company’s Motion to Exclude Plaintiffs’ Experts’ Unreliable

  Causation Opinions and Memorandum in Support filed on April 26, 2021 (“Ford’s Motion”)

  (Dkt. 204). Like Ford, Abex is being sued in this case for automotive frictions products. Abex

  also notes that neither Dr. Brody’s Report (Exhibit 4 to Ford’s Motion) nor Dr. Holstein’s Report

  (Exhibit 5 to Ford’s Motion) mention any Abex product. For all the reasons discussed in Ford’s


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  Motion and the additional facts mentioned above, Abex moves the Court to exclude the

  Plaintiffs’ experts’ causation opinions, which claim that alleged exposure to asbestos from

  automotive friction products was a substantial factor in causing Mr. Labrum’s mesothelioma.

  DATED this 3rd day of May, 2021.             LEWIS BRISBOIS BISGAARD & SMITH LLP

                                               By: /s/ Ronald L. Hellbusch
                                               ATTORNEYS FOR DEFENDANT
                                               PNEUMO ABEX LLC




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                                  CERTIFICATE OF SERVICE

        I certify that on this 3rd day of May, 2021, I electronically filed and served the foregoing
  PNEUMO ABEX LLC’S MOTION TO EXCLUDE PLAINTIFFS’ EXPERTS’
  UNRELIABLE CAUSATION OPINIONS to all counsel of record through the Court’s
  electronic filing system.


                                                        /s/ Aren Branagh




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